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  SCHEDULE
     A
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                                      SCHEDULE A

                            AUTHORITY FOR THE TAKING


       The property is taken under and in accordance with 40 U.S.C. §§ 3113 and 3114,

which authorize the condemnation of land and the filing of a Declaration of Taking; the

Act of Congress approved September 30, 1996, as Public Law 104-208, Division C,

Section 102, 110 Stat. 3009-546, 3009-554-55, as amended and codified at 8 U.S.C. §

1103(b) & note; and the Act of Congress approved February 15, 2019, as Public Law 116-

6, div. A, tit. II, Section 230, 133 Stat. 13, which appropriated the funds that shall be used

for the taking.
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  SCHEDULE
      B
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                                     SCHEDULE B

                                   PUBLIC PURPOSE



       The public purpose for which said property is taken is to construct, install, operate,

and maintain roads, fencing, vehicle barriers, security lighting, cameras, sensors, and

related structures designed to help secure the United States/Mexico border within the State

of Texas.
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  SCHEDULE
     C
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                                 SCHEDULE C

                             LEGAL DESCRIPTION

                               Starr County, Texas

Tract: RGV-RGC-9000-1
Owner: Duval County Ranch Company, L.L.C., et al.
Acres: 6.298
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                         SCHEDULE C (Cont.)
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  SCHEDULE
      D
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                            SCHEDULE D

                             MAP or PLAT

                      LAND TO BE CONDEMNED
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                         SCHEDULE D (Cont.)
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                         SCHEDULE D (Cont.)
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                             SCHEDULE D (Cont.)




Tract: RGV-RGC-9000-1
Owner: Duval County Ranch Company, L.L.C., et al.
Acres: 6.298
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    SCHEDULE
        E
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                                       SCHEDULE E

                                     ESTATE TAKEN

                                     Starr County, Texas

Tract: RGV-RGC-9000-1
Owner: Duval County Ranch Company, L.L.C., et al.
Acres: 6.298

       The estate taken is fee simple, subject to existing easements for public roads and
highways, public utilities, railroads, and pipelines; and subject to all interests in minerals
and appurtenant rights for exploration, development, production and removal of said
minerals;

        Reserving to the owners of the lands identified in conveyance recorded with
Official Records of Starr County, Texas, volume 1276, page 711, reasonable access to
and from the owners’ lands lying between the Rio Grande River and the border barrier
through opening(s) or gate(s) in the border barrier between the westernmost mark labeled
“Beginning” and easternmost mark labeled “Ending” depicted on the map below;

        Excepting and excluding all interests in water rights and water distribution and
drainage systems, if any, provided that any surface rights arising from such water rights
or systems are subordinated to the United States’ construction, operation and
maintenance of the border barrier.
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                         SCHEDULE E (Cont.)
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    SCHEDULE
        F
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                                     SCHEDULE F

                        ESTIMATE OF JUST COMPENSATION



   The sum estimated as just compensation for the land being taken is FORTY TWO

THOUSAND, NINE HUNDRED AND THIRTY EIGHT DOLLARS AND NO/100

($42,938.00), to be deposited herewith in the Registry of the Court for the use and benefit

of the persons entitled thereto.
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     SCHEDULE
        G
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                                         SCHEDULE G

                                    INTERESTED PARTIES

The following table identifies all persons who have or claim an interest in the property
condemned and whose names are now known, indicating the nature of each person’s property
interest(s) as indicated by references in the public records and any other information available to
the United States. See Fed. R. Civ. P. 71.1(c).

 Interested Party                              Reference
 Duval County Ranch Company, LLC               RGV-RGC-9000-1
 Joe H. Fancher (Registered Agent)             Special Warranty Deed,
 2234 Cedar Grove                              Document #2010-290937;
 New Braunfels, Texas 78132                    Recorded June 3, 2010,
                                               Deed Records of Starr County

 Ociel Mendoza                                 RGV-RGC-9000-1
 5541 East Highway 83                          Warranty Deed,
 Rio Grande City, Texas 78582                  Document #2010-291037;
                                               Recorded June 3, 2010,
                                               Deed Records of Starr County

 Martha N. Mendoza                             RGV-RGC-9000-1
 5562 Santa Maria Avenue                       Warranty Deed,
 Rio Grande City, Texas 78582                  Document #2010-291037;
                                               Recorded June 3, 2010,
                                               Deed Records of Starr County

 Department of the Treasury – Internal         Federal Tax Lien;
 Revenue Service                               Document #2019-352019;
 5450 Stratum Drive, Suite 150                 Dated September 19, 2019;
 Fort Worth, Texas 76137                       Records of Starr County

 Ameida Salinas                                Tax Authority
 Starr County Tax Assessor-Collector
 100 N. FM 3167, Room 201
 Rio Grande City, TX 78582
